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                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                             MDL NO. 2179
DEEPWATER HORIZON IN THE
GULF OF MEXICO, ON APRIL 20, 2010

IN RE THE COMPLAINT AND PETITION OF
TRITON ASSET LEASING GMBH, ET AL., IN A                             SECTION: J
CAUSE FOR EXONERATION FROM OR
LIMITATION OF LIABILITY
                                                            JUDGE BARBIER
THIS DOCUMENT RELATES TO:
2:10-CV-02771                                               MAGISTRATE JUDGE SHUSHAN

                                    NOTICE OF SUBMISSION

       Please take notice that the undersigned parties shall bring on their Motion to Dismiss

Weatherford U.S. LP and Weatherford International Inc.’s Cross-Claims for Failure to State a

Claim for submission to the Honorable Carl J. Barbier, United States District Court, Eastern

District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, 70130 at 9:30 a.m. on the 6th

day of July, 2011, or as soon thereafter as counsel may be heard.

Date: June 20, 2011

                                                 Respectfully submitted,

                                                 WARE, JACKSON, LEE & CHAMBERS, LLP


                                                 BY: _/s/ C. Dennis Barrow, Jr.____________
                                                      Don Jackson
                                                      Texas Bar No. 10476000
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                                                 Counsel for Defendant, Dril-Quip, Inc.
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                               CERTIFICATE OF SERVICE

       I certify that the above and foregoing Notice of Submission will be served on all counsel
by electronically uploading the same to LexisNexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System
which will send a notice of electronic filing in accordance with the procedures established in
MDL 2179, on this 20th day of June, 2011.



                                                   /s/ C. Dennis Barrow, Jr._______________
                                                   C. Dennis Barrow, Jr.




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